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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

LAUTHA V. ANDERSON, SR.,                         )
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              )        Case No. 4:17-CV-2659 AGF
                                                 )
CHANTAY GODERT, et al.,                          )
                                                 )
        Defendants.                              )

             PLAINTIFF LAUTHA V. ANDERSON, SR.’S MOTIONS IN LIMINE

        COMES NOW Plaintiff Lautha V. Anderson, Sr. (“Plaintiff”), by and through his attorney,

and moves in limine to exclude Defendant from mentioning in voir dire, opening statement, closing

argument or from presenting any evidence, or eliciting from any witnesses, any reference or

mention of:

        1.      Defendants and Law Enforcement Witnesses in Uniform.

        Defendants are corrections/law enforcement officers. The prejudicial effect of wearing

uniforms is strong, because many members of the public view law enforcement officers as credible,

and yet the law requires that a witness who is a law enforcement officer not receive more credibility

from the jury than other witnesses, just because he or she is a law enforcement officer. See Roberts v.

Hollocher, 664 F.2d 200, 202-03 (8th Cir. 1981). If Defendants and law enforcement witnesses appear

at trial in uniform, then the jurors will conclude that the officers are more trustworthy than the Plaintiff

(and/or the jurors themselves). Such a conclusion would be prejudicial to Plaintiff.

        Lastly, during the trial and in the courtroom, Defendants and law enforcement witnesses will

not be working and there is no reason to wear their uniforms other than for “cosmetic” purposes for

the jury. The court should therefore prohibit Defendants and Defendants’ witnesses from appearing in

court at trial in uniform.
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       2.        Plaintiff Lautha V. Anderson, Sr.’ Prior Convictions.

                 A.     On October 19, 1994, Plaintiff was convicted of Robbery - 1st Degree

{ Felony A RSMo: 569.020 } and on February 24, 1995, Plaintiff was sentenced to 10 years in

prison (City of St. Louis);

                 B.     On October 19, 1994, Plaintiff was convicted of Kidnapping { Felony

A RSMo: 565.110 } and on February 24, 1995, Plaintiff was sentenced to 5 years in prison (City

of St. Louis);

                 C.     On January 12, 1995, Plaintiff was convicted of Forcible Rape { Felony

A RSMo: 566.030 } and on February 24, 1995, Plaintiff was sentenced to Life in prison (City of

St. Louis);

                 D      On January 12, 1995, Plaintiff was convicted of Burglary - 1st Degree

{ Felony B RSMo: 569.160 } and on February 24, 1995, Plaintiff was sentenced to 5 years in prison

(City of St. Louis); and

                 E      On January 12, 1995, Plaintiff was convicted of Robbery - 2nd Degree

{ Felony B RSMo: 569.030 } and on February 24, 1995, Plaintiff was sentenced to 5 years in prison

(St. Louis County).

                 AA.    On August 19, 2011, Plaintiff pled guilty to Theft/Stealing (Value Of

Property Or Services Is $500 Or More But Less Than $25,000) { Felony C RSMo: 570.030 } and

on the same day Imposition of Sentence was Suspended (SIS) and Plaintiff was placed on 5 years

probation with conditions. (St. Louis County).

                 On April 12, 2012, after hearing on the Motion for Probation Revocation filed by

the State, the judge ordered Plaintiff to serve one year in the county jail (Department of Justice

Services – DJS). (St. Louis County).




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               F.     On August 28, 1996, Plaintiff pled guilty to Robbery - 1st Degree { Felony

A RSMo: 569.020 } and on the same day Plaintiff was sentenced to 15 years in prison. (St. Louis

County). On August 28, 1996, Plaintiff pled guilty to Armed Criminal Action { Felony

Unclassified RSMo: 571.015 } and on the same day Plaintiff was sentenced to 15 years in prison.

(St. Louis County). On August 28, 1996, Plaintiff pled guilty to Burglary - 1st Degree { Felony B

RSMo: 569.160 } and on the same day Plaintiff was sentenced to 15 years in prison. (St. Louis

County). On August 28, 1996, Plaintiff pled guilty to a second count of Armed Criminal Action

{ Felony Unclassified RSMo: 571.015 } and on the same day Plaintiff was sentenced to 15 years

in prison. (St. Louis County).

       Rule 609 of the Federal Rules of Evidence sets forth in its entirety that:

       “(a) In General. The following rules apply to attacking a witness’s character for
       truthfulness by evidence of a criminal conviction:
       (1) for a crime that, in the convicting jurisdiction, was punishable by death or by
       imprisonment for more than one year, the evidence:
       (A) must be admitted, subject to Rule 403, in a civil case or in a criminal case in
       which the witness is not a defendant; and
       (B) must be admitted in a criminal case in which the witness is a defendant, if the
       probative value of the evidence outweighs its prejudicial effect to that defendant;
       and
       (2) for any crime regardless of the punishment, the evidence must be admitted if
       the court can readily determine that establishing the elements of the crime required
       proving — or the witness’s admitting — a dishonest act or false statement.

       (b) Limit on Using the Evidence After 10 Years. This subdivision (b) applies if
       more than 10 years have passed since the witness’s conviction or release from
       confinement for it, whichever is later. Evidence of the conviction is admissible only
       if:
       (1) its probative value, supported by specific facts and circumstances, substantially
       outweighs its prejudicial effect; and
       (2) the proponent gives an adverse party reasonable written notice of the intent to
       use it so that the party has a fair opportunity to contest its use.

       (c) Effect of a Pardon, Annulment, or Certificate of Rehabilitation. Evidence
       of a conviction is not admissible if:
       (1) the conviction has been the subject of a pardon, annulment, certificate of
       rehabilitation, or other equivalent procedure based on a finding that the person has



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       been rehabilitated, and the person has not been convicted of a later crime punishable
       by death or by imprisonment for more than one year; or
       (2) the conviction has been the subject of a pardon, annulment, or other equivalent
       procedure based on a finding of innocence.

       (d) Juvenile Adjudications. Evidence of a juvenile adjudication is admissible
       under this rule only if:
       (1) it is offered in a criminal case;
       (2) the adjudication was of a witness other than the defendant;
       (3) an adult’s conviction for that offense would be admissible to attack the adult’s
       credibility; and
       (4) admitting the evidence is necessary to fairly determine guilt or innocence.”

       (e) Pendency of an Appeal. A conviction that satisfies this rule is admissible even
       if an appeal is pending. Evidence of the pendency is also admissible.”

       3.      Mentioning that these motions in limine were filed.

       In the event any one of these motions in limine are denied, Defendants should be prohibited

from mentioning these motions in limine and prohibited from stating or infering to the jury that

there was evidence Plaintiff has tried “to keep from the jury.” These motions in limine are made

based upon good faith interpretations of the law and to make any such comment on these motions

in limine would be highly and unfairly prejudicial and irrelevant. See Fed.R.Evid. 401-402-403.

       WHEREFORE, Plaintiff respectfully requests that the Court exclude the evidence set forth

above and make whatever additional rulings it deems necessary and proper in the circumstances.


                                             Respectfully submitted,

                                             SCHOTTEL & ASSOCIATES, P.C.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2020, the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the following:

                                              Michael Pritchett
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